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United States District Court
District of Massachusetts

 

 

CIVIL SERVICE
ACTION NO.
Raymond l\/lorales, Pedro Rosado, Jose Carasquillo,
Jesus Fuentes, Luis Rodriguez, Eliezer Sanchez aka
Elizer Sanchez, Javier Cumba-Diaz aka Javier Cumba,
Juan Caraballo, Leonardo Santiago, and Jose Cordova,
CLASS ACTION COMPLAINT
Plaintiffs,
v.

Advanced Detailing Concepts, Inc. and Richard Lavoie,

 

Defendants,

 

 

 

NOW COl\/IE Rayrnond l\/Iorales, Pedro Rosado, lose Carasquillo, Jesus Fuentes, Luis
Rodriguez, Eliezer Sanchez aka Elizer Sanchez, Javier Cumba-Diaz aka Javier Cumba, Juan
Caraballo, Leonardo Santiago, and Jose Cordova, individually, and on behalf of all other persons
similarly situated, and move for relief from the repeated violations of their rights under both
federal and state law by their employer (“Advanced l)etailing Concepts, Inc.”, hereinafter
“Advanced”). The Defendants have failed to properly compensate the Plaintiffs. The Plaintiffs
bring this suit pursuant to 29 U.S. _C. §§ 206 and 207 (F air Labor Standards Act, FSLA), 29 C.F.R
§ 778.]11 (Pieceworker)l and Connecticut Overtime Law, 28 C.G.S.A § 31-761), R.C.S,A. § 31 -
62-D2.2

 

l'l"he United States Department of Labor provides the following guidance for properly

computing compensation for “piecework” employees at https://www.dol.gov/whd/regs/compliance/hrg.htm:

Comguting 0vertime Pay

Overtime must be paid at a rate of at least one and one~half times the employee’s regular
rate of pay for each hour worked in a workweek in excess of the maximum allowable in a given type of
employment Generally, the regular rate includes all payments made by the employer to or on behalf of the

PLAlNTIFF CLASS ACTION COl\/IPLAINT - l

 

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PLAINTIFF CLASS ACTION COMPLAINT - 2

 

 

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l. Plaintiff Raymond Morales (hereinafter “l\/lorales”) is an individual currently residing at
158 Norfolk Street, Springfield, l\/IA, Commonwealth of Massachusetts. At all times,
relevant herein, he worked as a pieceworker at Advanced’s location in East Windsor,
Connecticut.

2. Plaintiff Pedro Rosado (hereinafter “Rosado”) is an individual currently residing at 32
Edmund Wynne Circle, Springfleld, MA, Commonwealth of l\/lassachusetts. At all times,
relevant herein, he worked as a pieceworker at Advanced’s location in East Windsor,
Connecticut

Plaintiff Jose Carasquillo (hereinafter “Carasquillo”) is an individual currently residing at

b.)

356 Belmont Ave, Springfield, MA, Commonwealth of l\/Iassachusetts. At all times,
relevant herein, he worked as a pieceworker at Advanced’s location in East Windsor,
Connecticut

4. Plaintiff Jesus Fuentes (hereinafter “Fuentes”) is an individual currently residing at 80
Clayton Street, Springlield, l\/IA, Commonwealth of l\/Iassachusetts. At all times, relevant

herein, he worked as a pieceworker at Advanced’s location in East Windsor, Connecticut

 

employee (except for certain statutory exclusions). The following examples are based on a maximum 40-hour
workweek applicable to most covered nonexempt employees

Hourly rate (regular pay rate for an employee paid by the hour) - If more than 40 hours are worked, at least one and one-half times
the regular rate for each hour over 40 is due.

Exampie: An employee paid $8.00 an hour works 44 hours in a workweek. The employee is entitled to at least one
and one-half times $8.00, or $12.00, for each hour over 40. Pay for the Week would be $320 for the first 40 hours, plus $48.00 for the
four hours of overtime - a total of $368.00.

Piece rate ~ The regular rate of pay for an employee paid on a piecework basis is obtained by dividing the total weekly earnings by the
total number of hours worked in that week. The employee is entitled to an additional one-half times this regular rate for each hour over
40, plus the full piecework earnings

Example: An employee paid on a piecework basis works 45 hours in a week and earns $405, The regular rate of
pay for that week is $405 divided by 45, or $9.00 an hour. In addition to the straight-time pay, the employee is also entitled to $4.50
(half the regular rate) for each hour over 40 - an additional $22.50 for the 5 overtime hours - for a total of $427.50.

Another way to compensate pieceworkers for overtime, if agreed to before the work is performed, is to pay one
and one-half times the piece rate for each piece produced during the overtime hours. The piece rate must be the one actually paid during
nonovertime hours and must be enough to yield at least the minimum wage per hour.

 

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PLAlNTlFF CLASS ACTION COl\/IPLAINT - 3

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Plaintiff Luis Rodriguez (hereinafter “Rodriguez”) is an individual currently residing at
l65 Switzer Avenue, Springfreld, l\/IA, Commonwealth of Massachusetts. At all times,
relevant herein, he worked as a pieceworker at Advanced’s location in East Windsor,
Connecticut

Plaintiff Eliezer Sanchez aka Elizer Sanchez (hereinafter “Sanchez”) is an individual
currently residing at 611 Bay Street, Springfield, MA, Commonwealth of Massachusetts.
At all times, relevant herein, he worked as a pieceworker at Advanced’s location in East
Windsor, Connecticut

Plaintiff Javier Cumba~DiaZ aka Javier Cumba (hereinafter “Cumba”) is an individual
currently residing at ll Armory Street, Springfreld, MA, Commonwealth of
l\/lassachusetts. At all times, relevant herein, he worked as a pieceworker at Advanced’s
location in East Windsor, Connecticut

Plaintiff Juan Caraballo (hereinafter “Caraballo”) is an individual currently residing at 94
Waldorf Street, Springfreld, l\/IA, Commonwealth of Massachusetts. At all times, relevant
herein, he worked as a pieceworker at Advanced’s location in East Windsor,rConnecticut
Plaintiff Leonardo Santiago (hereinafter “Santiago”) is an individual currently residing at
2075 Northampton Street, Holyoke, MA, Commonwealth of l\/lassachusetts. At all times,
relevant herein, he worked as a pieceworker at Advanced’s location in East Windsor,
Connecticut

Plaintiff Jose Cordova (hereinafter “Cordova”) is an individual currently residing at 144
Plainfield Street, Springfreld, MA, Commonwealth of l\/lassachusetts. At all times,
relevant herein, he Worked as a pieceworker at Advanced’s location in East Windsor,

Connecticut

 

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PLAINTIFF CLASS ACTION COl\/IPLAINT - 4

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Defendant Advanced Detailing Concepts, I`nc (hereafter referred to as “Advanced”) is a
corporation organized under the laws of Connecticut, with a principal office located at
164 South l\/lain Street, East Windsor, CT, 06088 and is the employer of the Plaintiffs.
Defendant Richard Lavoie is and individual residing at 459 Thrall Ave., Suffreld, Ct,
06078 and is the owner and operator of Advanced Detailing Concepts, lnc. and is the
employer of the Plaintiffs.

This matter is brought before this Honorable Court pursuant to 28 U.S. C. § 1331
(“federal question”) as the Plaintiffs assert a violation of 28 U.S. C. § 201 et seq. (FSLA)
and specifically 28 U.S.C. § § 206 and 207 for the Defendants failure to pay their
employees in conformance with FSLA. The Defendants have also violated 28 U.S.C. §
218 c as the Defendants have discriminated against Plaintiffs and in some case
discharged Plaintiffs in retaliation to Plaintiffs assertion on their rights under 28 U.S. C
201 et seq. and over the state claims under 28 U.S.C § 1367 (a),'

Jurisdiction is also present pursuant to 28 U.S.C. Sectz`on 1332, on diversity grounds as all
the Plaintiffs reside in l\/lassachusetts and Defendants reside in Connecticut

This Court has specific personal jurisdiction over the Defendants in this matter and the
exercise of jurisdiction satisfies the federal requirement of constitutional due process.
This Court has general personal jurisdiction over the Defendants in this matter as they
have engaged in continuous and systematic activity in the forum state as set forth below.

The collective amount in controversy exceeds $75,000.
Venue
Venue is properly in this district pursuant to 28 U.S.C. § 1391 (b) (2),'

a. Defendants have engaged in significant activities within Massachusetts.

 

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Defendants have recruiting plaintiffs and others similarly situated in the state for
employment

Defendants have mailed and sent paychecks to the Plaintiffs residences in
l\/[assachusetts.

Defendants have traveled to and recruited business patrons within l\/lassachusetts.
Defendants have License Plates issued by the l\/iassachusetts Registry of l\/lotor
Vehicles for transportation and business related matters in Massachusetts.
Defendants have performed work on vehicles owned and registered to residents of
l\/lassachusetts.

Defendants have made direct deposits of employees’ pay into bank accounts in
l\/lassachusetts.

Defendants have made and received telephone calls to and from their employee
residents of Massachusetts at their residences and on their l\/iassachusetts cell
phones to conduct the daily operations of their business including the scheduling
of employees’ work, which they engage in via telephone calls from the
Defendants business in Connecticut to l\/lassachusetts resident employees
Defendants have made and received telephone calls to l\/lassachusetts resident
customers who have their cars in for detailing at their Connecticut place of
business.

Defendants have made telephone calls and sent mailings to the resident
employees in l\/lassachusetts.

These actions of the Defendants within Massachusetts and involving
Massachusetts residents constitute continuous and systemic activity of the

Defendants in the forum state.

PLAINTIFF CLASS ACTION COMPLAINT - 5

 

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l9. Defendants are employers subject to 29 U.S.C. 201 el'. Seq. (FSLA);

20. Plaintiffs are or have been employees of the Defendants for the past three years;

Zl. Plaintiffs are all pieceworkers in conformance with subsection (g) of 29 U.S. C § 207

22. Defendants have failed to pay Plaintiffs in accordance with 29 U.S.C 201 el'. Seq., 29
U.S.C§ 207 (g), and 29 CFR § 778.11 as follows;

a.

C.
PLAlNTIFF CLASS ACTION COMPLAINT - 6

The causes of action pertinent to this lawsuit also arose out of the business that

the Defendants transacted within l\/iassachusetts.

F actual Allegations

Plaintiff Raymond l\/lorales began working as a pieceworker for Advanced in
August of 2013.

His responsibilities included to fully detail a vehicle including but not limited to
using their manual dexterity and bodily coordination to perform an array of tasks
He washes the exterior of vehicles using various cleaning solutions, but he may
also wax and buff vehicles using cloths and buffing machines lnside of the car,
he typically vacuums to remove dirt and debris, clean upholstery and surfaces, use
air compressors and cloths to dry surfaces and apply preservation chemicals to
surfaces for protection against spots and stains. He may use different kinds of
dyes, paints and waxes to protect the leather or fabric of vehicles Some detailing
jobs involve cleaning and removing any grease on engines or engine
compartments He uses various hoses and pumps to wash vehicles, rinse and dry
mats and polish wheels Additional duties may include managing and maintaining
the appropriate level of supplies He might be asked to organize work records,
files and reports as well.

Plaintiff l\/[or'ales worked only on the premises of Advanced.

 

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S.
PLAINTIFF CLASS ACTION COMPLAINT - 7

. Plaintiff Rodriguez began working as a pieceworker for Advanced in February

He works a minimum of 46 hours to a maximum of 52 hours per calendar week.
While working as a pieceworker, at a rate of ($l 5-$50) per piece less 30%
company earned commission, l\/lorales was paid a random salary per week. He
received a paystub reporting this income.

He realized there was a problem with his pay within months of being employed
and brought it up to the defendant in multiple occasions without resolution
Morales began communicating with the Connecticut Department of Labor
regarding certain violations he observed with his pay,

One month after commencing his discussions with the Connecticut Department of
Labor, l\/Iorales employment was terminated on or about December 19, 2016.
Plaintiff Cumba began working as a pieceworker for Advanced in August of 2013.
His responsibilities as a pieceworker were the same as Plaintiff l\/lorales.

He works a minimum of 34 hours to a maximum of 56 hours per calendar week.
He realized there was a problem with his pay within months of working and

brought it up to the defendant in multiple occasions without resolution.

2013.

His responsibilities as a pieceworker were the same as Plaintiff l\/Iorales.

He works a minimum of 34 hours to a maximum of 56 hours per calendar week.
He realized there was a problem with his pay within months of working and
brought it up to the defendant in multiple occasions without resolution.
Plaintiff Rosado began working as a pieceworker for Advanced in August of 2013.
His responsibilities as a pieceworker were the same as Plaintiff Morales.

He works a minimum of 40 hours to a maximum of 50 hours per calendar week.

 

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t. He realized there was a problem with his pay within months and brought it up to
the defendant in multiple occasions without resolution

u. Plaintiff Sanchez began working as a pieceworker for Advanced in July Of 2002.

v. His responsibilities as a pieceworker were the same as Plaintiff Morales.

w. He works a minimum of 30 hours to a maximum of 60 hours per calendar week.

x. He realized there was a problem with his pay within months and brought it up to
the defendant in multiple occasions without resolution

y. Plaintiff Fuentes began working as a pieceworker for Advanced in August of
2015

z. His responsibilities as a pieceworker were the same as Plaintiff Morales.

aa. He works a minimum of 32 hours to a maximum of 52 hours per calendar week.

bb. He realized there was a problem with his pay within months of working and
brought it up to the defendant in multiple occasions without resolution.

cc. Plaintiff Caraballo began working as a pieceworker for Advanced in October of
2011.

dd. His responsibilities as a pieceworker were the same as Plaintiff Morales.

ee. l-le works a minimum of 30 hours to a maximum of 45 hours per calendar week.

ff. He realized there was a problem with his pay within months of working and
brought it up to the defendant in multiple occasions without resolution.

gg. Plaintiff Carasquillo began working as a pieceworker for Advanced in April of
2016.

hh. His responsibilities as a pieceworker were the same as Plaintiff Morales.

ii. He works a minimum of 30 hours to a maximum of 50 hours per calendar week.

PLAINTIFF CLASS ACTION COMPLAINT - 8

 

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j j. He realized there was a problem with his pay within months of working and
brought it up to the defendant in multiple occasions without resolution.
kk. Three month after commencing his discussions with the Connecticut Department
of Labor and his attomey, Carasquillo employment was terminated on or about
January 31, 2017. 3
ll. Plaintiff Cordova began working as a pieceworker for Advanced in September of
2016. (He has worked on and off for this company for several years.)
mm. His responsibilities as a pieceworker were the same as Plaintiffl\/lorales.
nn. He works a minimum of 32 hours to a maximum of 52 hours per calendar week.
oo. He realized there was a problem with his pay within months of working and
brought it up to the defendant in multiple occasions without resolution.
pp. Plaintiff Santiago began working as a pieceworker for Advanced in 2015.
qq. His responsibilities as a pieceworker were the same as Plaintiff Morales.
rr. He works a minimum of 30 hours to a maximum of 55 hours per calendar week.
ss. He realized there was a problem with his pay within months of working and
brought it up to the defendant in multiple occasions without resolution
Count I: F air Labor Standards Act Claim

(On BehaZfQ/`le`ntr`)j% lldorales, Rosado, Carasquz`llo, Fuenfes, Rodrl`gzlez, Scmchez, Czimba,
Cm"aballo, Scmtz`ago, Cordova, and/111 Ol'hers Sz'mz'larly Sil'uared)

23. Plaintiffs hereby re-assert and re-allege the allegations contained in paragraphs one
through twenty-four (24) as though fully set forth herein.

24. Plaintiffs seek to bring this action on behalf of themselves and other similarly situated
individuals as authorized under 29 U.S,C. §216(b) and pursuant to FRCP Rule 23 of the

Federal Rules of Civil Procedure.

PLAlNTlFF CLASS ACTION COMPLAINT - 9

 

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PLAlNTIFF CLASS ACTION COMPLAINT - 10

. Pursuant to 29 U.S.C. §207(€1) and §213, Advanced is liable to Plaintiffs for

. ln violation of the FLSA, the Defendants suffered and permitted members of the FLSA

. The Defendants’ conduct was repeated, willful, and intentional and has caused significant

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The proposed collective action is defined as follows: all piece rate workers employed in
Advanced (“the FLSA Class”).

The claims of the individual Plaintiffs are typical of the claims of the FLSA Class.

There are numerous common questions of law and fact among the members of the FLSA
class regarding the alleged willful and knowing violations of the FLSA.

The FLSA Class is too numerous for each matter to feasibly be litigated individually, and
individual prosecution of each matter would risk of producing inconsistent and varying
adjudication

By its conduct, as more set forth herein, Advanced violated 29 U.S. C §207(a) by failing
to pay Plaintiffs overtime compensation at time-and-one-half their regular hourly rate.
Plaintiffs l\/lorales, Rosado, Carasquillo, Fuentes, Rodriguez, Sanchez, Cumba, Caraballo,
Santiago, Cordova and others similarly situated have been damaged by said violations

and continue to stiffer by this violation.

compensation for unpaid overtime at one and one half times the regular hourly rate plus
an additional equal amount as liquidated damages, prejudgment interest, plus the costs

and reasonable attorneys’ fees

Class to work more than 40 hours per week without overtime compensation at a rate of

time-and-one-half their regular hourly rate.

damage to the Plaintiffs and the FLSA Class.
The members of the FLSA Class are similarly situated and numerous They were all non~

exempt hourly employees of Advanced.

 

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Count II: Connecticut ()vertime Law Claim

(On Beha[fo_/‘Plaz'nl'l`f/Ts Mora[es, Rosado, Carasquillo, Fuentes, Roa'l'l`guez, Sanchez, Cwnba,
Cara/)allo, Santiago, Cordova, and/111 Uthers Si)nz'la)~ly Sifualecl)

35. Plaintiffs hereby re-assert and re-allege the allegations contained in paragraphs one
through thirty-four (34) as though fully set forth herein.

36. By its conduct as set forth herein, Advanced violated 28 U.S. C § 13 76(a) by failing to
pay Plaintiffs and others similarly situated in the Commonwealth ofConnecticut
overtime compensation at time-and-one-half their regular hourly rates

37. Advanced violations of C.G.S.A. § 31-76b were repeated, willful, and intentional.

38. Plaintiffs and the Wage Act Class have been damaged by said violations of C.G.S.A. § 31-
76b. Pursuant to C. G.S.A. § 31-76b, Advanced is liable to Plaintiffs and the Wage Act

Class for treble damages, prejudgment interest, plus costs and reasonable attorneys’ fees

Count III: F ailure to Compensate as Pieceworker

(On Behalfo_/"Plaz'nli'}j@ Morales, Rosado, Carasquillo, Faenl'es, Roa’rz'gaez, Sanchez, Cwnba,
Caraballo, Santiago, Cordova, and/111 Ul‘hers Sz`lnl`larly Sil’ualed)

39. Plaintiffs hereby re-assert and re-allege the allegations contained in paragraphs one
through thirty-eight (3 8) as though fully set forth herein.

40. Plaintiffs l\/lorales, Rosado, Carasquillo, Fuentes, Rodriguez, Sanchez, Cumba,
Caraballo, Santiago, and Cordova and other employees of Advanced were not paid in the
manner required for pieceworkers as required by 29 U.S.C. 207 (a) and 29 C.F.R §

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41. Under 29 C.F.R § 778.111, the piecework employees are to be paid for waiting time and

other hours’ work, at the minimum hourly rate of the State of Connecticut of nine dollars

and sixty cents ($9.60), but were not so pai`d, and therefore their overtime pay at one in a

PLAlNTlFF CLASS ACTION COMPLAINT - l l

 

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(On Behcl[foPlaiirl'ifj‘S' Morales, Rosaa’o, Carasqal`llo, Fuentes, Rodrz'gaez, Sanchez, Cwnba,
Caraballo, San/z`ago, Cora'ova, and/111 thers Simz`larly Silaafed)

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(On BehaZfoPlaz'nri`)jfs Morales, Rosado, Carasqaz`llo_. Faentes, Roa’rz'guez, Sanchez, Ciunba,

PLAlNTlFF CLASS ACTION COl\/IPLAINT - 12

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half their hourly rate for all hours worked over forty has not been paid. Accordingly, they
were incorrectly paid as pieceworkers

The Employees have not been paid as pieceworker but the facts support the idea that they
are pieceworkers under the law.

As a result, l\/lorales, Rosado, Carasquillo, Fuentes, Rodriguez, Sanchez, Cumba-Diaz,
Caraballo, Santiago, and Cordova and those similarly situated have suffered severe
economic damage

Count IV: Retaliation

Plaintiffs hereby re-assert and re-allege the allegations contained in paragraphs one
through forty-three (43) as though fully set forth herein.

An employee must be protected from unlawful discharge or discrimination because he or
she has filed a complaint based on wage and hour violations 29 U.S. C. §215(€1)(3),' 29
U.s.C. § 218 (c),~ C.G.s./if §31-76b.

Defendants Advanced and Lavoie were aware that several of the employees had spoken
with the Connecticut Department of Labor.

Since the Connecticut Departments of Labor investigation has begun, plaintiffs have been
dismissed without good cause.

The temporal proximity of these events raises a presumption in favor of retaliatory

motives on behalf of Advanced.

Count V: ~()uantum Meruit/Uniust Enrichment

Caraballo, Santl`ago, Cordova and All Ol'hers Silnz`larly Situal'ea’)

 

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Plaintiffs hereby re-assert and re-allege the allegations contained in paragraphs one

through Forty-eight (48) as though fully set forth herein

Plaintiffs made significant contributions to the establishment and growth of Advanced.

The Plaintiffs conferred a valuable benefit upon the Defendants

Plaintiffs provided the services with the expectation of receiving reasonable

compensation

Reasonable compensation must be paid to the Plaintiffs in order to avoid injustice and

unjust enrichment

Wherefore, the Plaintiffs seek the following remedies:

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That Defendants be found liable on all counts;

That Defendants be held liable to the Plaintiffs for the past three (3) years
for violations of the Federal and State statutory;

That Defendant be held liable to the Plaintiffs for damages for the past (6)
years;

That Defendants be held liable to specific plaintiffs for punitive damages;
That Defendants be held liable for all compensation not paid in
accordancewith 29 U.S.C. 201 el. seq. and C.G.S.A § 31 -761);

That Defendants be held found liable for reasonable attorney fees, cost
expenses and other remedies this Honorable Court finds just, proper, and
reasonable under the facts of this complaint in furtherance of the purpose

under the LAW.

PLAlNTlFF CLASS ACTION COMPLAINT - 13

 

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2. That Defendants be held liable to the Plaintiffs for the past three (3) years

for violations of the Federal and State statutory;

3. That Defendant be held liable to the Plaintiffs for damages for the past (6)

years;

4. That Defendants be held liable to specific plaintiffs for punitive damages;

5. That Defendants be held liable for all compensation not paid in

accordance with 29 U.S.C. 201 et seq. and C.G.S.A § 31-761),'

6. That Defendants be held found liable for reasonable attorney fees, cost

expenses and other remedies this Honorable Court finds just, proper, and

reasonable under the facts of this complaint in furtherance of the purpose

under the LAW.

Plaintiffs demand trial by jury on all counts so triable.

Dated: February 13‘h, 2017

PLAINTIFF CLASS ACTlON COMPLAINT - 14

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/Marshall T.' l\/l riarty, Esq BO# 354910
Moriarty La Firm

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